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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION
STEPHANIE HUTCHINSON, et al.
Plaintiffs, CIVIL ACTION FILE

No. 1:23-CV-2805-SCJ

THE PKWY 750 KENNESAW, LLC,

Defendant.
ORDER
Following the Parties’ failure to file a Joint Preliminary Report and
Discovery Plan by December 1, 2023, as required by the Court (Doc. No. [9]), the
Court directed Plaintiffs to show cause why this action should not be dismissed
without prejudice for want of prosecution. Doc. No. [10]. Shortly thereafter, the
Parties filed their Joint Preliminary Report and Discovery Plan (Doc. No. [11]),
and on December 7, 2023, responded to the Show Cause Order (Doc. No. [12]).
While the Parties’ response does not provide a fulsome explanation of their
failure to timely file the Joint Preliminary Report and Discovery Plan, the Parties

have nevertheless corrected the deficiency by filing the Joint Preliminary Report

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and Discovery Plan. Accordingly, the Court will not dismiss this action for want
of prosecution pursuant to Local Rule 41.3(A)(2).

Upon review of the docket, the Court notes that counsel for Defendant has
failed to file a Certificate of Interested Persons and Corporate Disclosure
Statement pursuant to Local Rule 3.3.

Accordingly, Defendant’s counsel is ORDERED to file a Certificate of
Interested Persons and Corporate Disclosure Statement within fourteen days
from the date of this Order.

The Court expects that the Parties shall strictly abide by all relevant
deadlines going forward.

The Clerk is DIRECTED to submit this matter upon the filing by
Defendant of a Certificate of Interested Persons and Corporate Disclosure
Statement or on December 26, 2023.

IT IS SO ORDERED this’ Pen day of December, 2023.

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HONORABLE STEVEKC. JONES
United States District Judge

